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                                  UNITED STATES DISTRICT COURT
                                 CENTRAL DISTRICT OF CALIFORNIA

                                          CIVIL MINUTES - GENERAL
 Case No.          2:20-cv-08781-SPG-MRW                                          Date     September 2, 2022
 Title             Dennis Seider et al v. City of Malibu




 Present: The Honorable          SHERILYN PEACE GARNETT, UNITED STATES DISTRICT JUDGE
                      Patricia Gomez                                          Not Applicable
                        Deputy Clerk                                     Court Reporter / Recorder
                Attorneys Present for Plaintiffs:                   Attorneys Present for Defendants:
                         None Present                                          None Present
 Proceedings:                 (IN CHAMBERS ) ORDER

       In compliance with the mandate of the Ninth Circuit (ECF 37), the Court orders
Plaintiff to join as a required defendant the California Coastal Commission or, if the
Commission cannot be joined, join the individual Commissioners of the California
Coastal Commission, on or before October 3, 2022.

         IT IS SO ORDERED.




                                                                                                   :
                                                               Initials of Preparer   PG




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